                     UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION

UNITED STATES OF AMERICA and THE         )
STATE OF NORTH CAROLINA, EX REL.         )
STEPHEN GUGENHEIM,                       )
                                         )
                        Plaintiff,       )
                                         )
      v.                                 )          JUDGMENT
                                         )        5:16-CV-410-BO
MERIDIAN SENIOR LIVING, LLC, MERIDIAN )
SENIOR LIVING SERVICES, LLC, CHARLES )
E. TREFZGER, JR., WP-ALBEMARLE           )
HEALTH HOLDINGS, LLC, BURLINGTON AL )
HOLDINGS I, LLC, TAYLORSVILLE            )
HOUSE, LLC, WP-NEWLAND HEALTH            )
HOLDINGS, LLC, WP-WINDSOR HEALTH         )
HOLDINGS, LLC, LELAND HOUSE, LLC,        )
WP-YANCEYVILLE HEALTH HOLDINGS,          )
LLC, HICKORY HEALTH                      )
INVESTORS, LLC, WP-HAYESVILLE            )
HEALTH HOLDINGS, LLC, CHI                )
HOLDINGS, LLC, DANBY HOUSE, LLC,         )
WP-WINSTON SALEM HEALTH HOLDINGS, )
LLC, COUNTRY TIME INN, LLC,                   )
WP-GASTONIA HEALTH HOLDINGS, LLC,        )
GATES HOUSE, LLC, GREENSBORO AL          )
HOLDINGS, LLC, GREENSBORO OPCO                )
HOLDINGS, LLC, GREENSBORO HEALTH         )
HOLDINGS, LLC, FUQUAY-VARINA             )
HEALTH HOLDINGS, LLC, HAYWOOD            )
HEALTH HOLDINGS, LLC, AHOSKIE            )
HOUSE, LLC, SKYLAND HOUSE, LLC,          )
CLAYTON HEALTH HOLDINGS, LLC,            )
MACON HEALTH HOLDINGS, LLC, MINT         )
HILL HEALTH HOLDINGS, LLC,               )
WP-CHARLOTTE HEALTH HOLDINGS, LLC, )
CHARLOTTE HEALTH HOLDINGS, LLC,          )
MITCHELL HOUSE ONE, LLC, WEST END        )
HOLDINGS, LLC, CASTLE HAYNE AL           )
HOLDINGS, LLC, NEW HANOVER HOUSE,        )
LLC, RVHI, LLC, RV ASSISTED LIVING, LLC, )
SHI-ORANGE, LLC, GRANTSBORO OPCO         )
HOLDINGS, LLC, BURGAW HEALTH             )



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HOLDINGS, WP-CLINTON HEALTH                         )
HOLDINGS, LLC, ROSE TARA HOLDINGS,                  )
LLC, WP-BREVARD HEALTH HOLDINGS,                    )
LLC, CARY HEALTH HOLDINGS, LLC, WP                  )
WENDELL HEALTH, LLC, WP-RALEIGH                     )
HEALTH, LLC, ZHI, LLC, WILSON HOUSE,                )
LLC, WP-BURNSVILLE HEALTH HOLDINGS,                 )
LLC, AFFINITY LIVING GROUP, LLC,                    )
                                                    )
                              Defendants.           )
                                                    )

Decision by Court.
This cause comes before the Court on relator's motion for partial summary judgment and
defendants' motion for summary judgment.

IT IS ORDERED, ADJUDGED AND DECREED that the motion by the North Carolina
Senior Living Association for leave to file an amicus curiae brief in support of defendants [DE
149] is ALLOWED. Relator's motion to seal [DE 131] is GRANTED. Relator's motion for
partial summary judgment [DE 132] is DENIED. Relator's motion for leave to file exhibits not
capable of being filed electronically [DE 140] is DENIED AS MOOT. Relator's motion for
extension of time to file substantive motions [DE 141] is GRANTED. Defendants' motion for
summary judgment [DE 145] is GRANTED. Defendants' motion for extension of time to file
their response to relator's motion for partial summary judgment [DE 159] is GRANTED.

This case is closed.

This judgment filed and entered on April 21, 2020, and served on:
Clifford Marshall (via CM/ECF Notice of Electronic Filing)
Jeremy Williams (via CM/ECF Notice of Electronic Filing)
Matthew Lee (via CM/ECF Notice of Electronic Filing)
Jim Phillips, Jr. (via CM/ECF Notice of Electronic Filing)
Michael Dowling (via CM/ECF Notice of Electronic Filing)
D.J. O’Brien, III (via CM/ECF Notice of Electronic Filing)
Jennifer Van Zant (via CM/ECF Notice of Electronic Filing)
Kimberly Marston (via CM/ECF Notice of Electronic Filing)
Christopher Anderson (via CM/ECF Notice of Electronic Filing)
Joshua Royster (via CM/ECF Notice of Electronic Filing)
Matthew Lee (via CM/ECF Notice of Electronic Filing)
Steven McCallister (via CM/ECF Notice of Electronic Filing)


                                             PETER A. MOORE, JR., CLERK
April 21, 2020
                                              /s/Lindsay Stouch
                                             By: Deputy Clerk



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